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              7    to Alexandria, Elijah and Eternity Moriarty
              8
              9                          IN THE UNITED STATES DISTRICT COURT
             10                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
            11 MICHELLE MORIARTY, an individual,                           Case No.: 3:17-cv-01154-LAB-AGS
               as Successor in Interest to the ESTATE
            12 OF HERON MORIARTY and as                                    DECLARATION OF JEANNETTE
               GUARDIAN AD LITEM to                                        WERNER IN SUPPORT OF EX
            13 ALEXANDRIA MORIARTY, ELIJAH                                 PARTE MOTION FOR LEAVE TO:
               MORIARTY, and ETERNITY
            14 MORIARTY,                                                     1. TAKE MS. WERNER'S
                                                                                DEPOSITION
            15     Plaintiffs,                                               2. ADD MS. WERNER TO THE
                                                                                PTO WITNESS LIST· AND
            16             v.                                                3. COMPEL DEFENDANTS TO
                COUNTY OF SAN DIEGO, DR.                                        PRODUCE MS. WERNER'S
            17
                ALFRED JOSHUA, individually, and                                RECORDED STATEMENT
             18 DOES 1 through 10, Inclusive,                              Magistrate: Hon. Andrew G. Schopler
                                                                           Judge:      Hon. Larry A. Bums
             19   Defendants.
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                   WERNER DECLARATION RE MOTION FOR LEAVE TO TAKE DEPOSITION                  3:l 7-cv-01154-LAB-AGS
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